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                       UNITED STATES DISTRICT COURT

                         DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                     )
                                             )
     v.                                      ) CRIMINAL NO. 23-CR-10159
                                             )
JACK DOUGLAS TEIXEIRA                        )

                    DEFENDANT JACK DOUGLAS TEIXEIRA’S
                           DETENTION APPEAL




                                      Exhibit 14

                                N.S. Interview Excerpt
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                                                           DEFENDANT
                                                            EXHIBIT


                                                            14
